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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                                                 FILED
                             SAN ANTONIO DIVISION                    JAN     1   2O1
                                                            CLERK.          QSTRT
THUNDER PATCH II, LLC and
                                                                     U.S.
                                                                           CURT
                                                           WESTERN olaRtstbTExAS
HOC OPERATIONS, LLC
                                                                            DE    V CLERK

            Plaintiffs

V.                                          CIVIL NO. SA-18-CA-629-OLG

JPMORGAN CHASE BANK, N.A. as
Trustee of the Red Crest Trust; ANDY J
MCMULLEN, JOHN H. MCMULLEN
JR., MARGIE HARRIS NEWTON,
CYNTHIA CAROLE BEARD

            Defendants

         ORDER ACCEPTING REPORT AND RECOMMENDATION

      On this date, the Court considered the report and recommendation of United

States Magistrate Judge Richard B. Farrer, filed in the above-styled and numbered

cause on December 10, 2018. Docket no. 46. The parties were served with a copy of

the recommendation, and no objections have been filed. The Court has reviewed the

recommendation, and the findings and conclusions therein are neither clearly

erroneous nor contrary to law.

      It is therefore ORDERED that the recommendation of Magistrate Judge

Farrer be and is hereby ACCEPTED pursuant to 28 U.S.C. § 636(b)(1).

      It is further ORDERED that Plaintiffs' motion for leave to file First Amended
Complaint (docket no. 38) is DENIED; Plaintiffs' First Amended Complaint (docket

no. 8) is STRICKEN; Plaintiffs' motion for remand (docket no. 9) is DENIED; and

Defendant JP Morgan's motion to dismiss (docket no. 11) is GRANTED for the

reasons stated in the report and recommendation. All claims against the trust
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beneficiaries   ANDY J. MCMULLEN, JOHN H. MCMULLEN, JR., MARGIE

HARRIS NEWTON, and CYNTHIA CAROLE BEARD                  are DISMISSED and they

are no longer parties to this lawsuit.

      Magistrate Judge Farrer will continue to handle all pretrial matters.

      SIGNED and ENTERED on the              day of January, 2019.
                                         f




                                              ORLANDO L. GARCIA
                                              CHIEF U.S. DISTRICT JUDGE
